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                    EXHIBIT 1
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 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                             DistrictDistrict
                                                        __________    of Maryland
                                                                              of __________
          In re Under Armour Securities Litigation
                                                                               )
                                Plaintiff                                      )
                                   v.                                          )        Civil Action No. RDB-17-388
                                                                               )
                                                                               )
                               Defendant                                       )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                    Bloomberg L.P. c/o Registered Agent: Corporation Service Company
                                                        80 State Street, Albany, NY 12207
                                                        (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material: See attached Schedule A.



  Place: Robbins Geller Rudman & Dowd LLP                                                Date and Time:
           420 Lexington Avenue, Suite 1832                                                                   02/03/2023 9:00 am 37
           New York, NY 10170

      u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        01/04/2023

                                   CLERK OF COURT
                                                                                             OR

                                            Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
                                                                         , who issues or requests this subpoena, are:
T. Alex B. Folkerth, Esq., Robbins Geller Rudman & Dowd LLP, 655 West Broadway, Suite 1900, San Diego, CA 92101,
AFolkerth@rgrdlaw.com, 619/231-1058
                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. RDB-17-388

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             SCHEDULE A
                                          (BLOOMBERG L.P.)

          The Uniform Instructions and Definitions for Use in Discovery Requests are incorporated

herein.

I.        DEFINITIONS

          Notwithstanding any definition set forth below, each word, term, or phrase used in these

requests (“Request” or “Requests”) is intended to have the broadest meaning permitted under the

Federal Rules of Civil Procedure. As used in these Requests, the following terms are to be

interpreted in accordance with these definitions:

          1.        “All” shall include the term “each” and vice-versa, as necessary to bring within the

scope of the Request all responses that might otherwise be construed to be outside the scope of the

Request.

          2.        “And” and “or” shall be construed either disjunctively or conjunctively as necessary

to bring within the scope of the Request all responses that might otherwise be construed to be

outside the scope of the Request.

          3.        “Communicate” or “communication(s)” refers to every manner or means of

disclosure, transfer, transmittal, or exchange of information (in the form of facts, ideas, inquiries,

or otherwise), whether orally, electronically, by document (defined below), telecopier, mail,

personal delivery, or otherwise.

          4.        “Concern” or “concerning” means relating to, referring to, reflecting upon,

describing, evidencing, or constituting.

          5.        “Defendants” refers to Under Armour (defined below) and Plank (defined below).

          6.        “Document(s)” is intended to have the broadest possible meaning under Federal

Rule of Civil Procedure 34(a) and Federal Rule of Evidence 1001 and includes, without limitation,


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all electronic data, databases, and all communications or information which are stored or

retrievable or recorded in any manner, and also includes, without limitation, any writing (as

“writings” is defined in Rule 1001) or other record of information or images, including, without

limitation, print, handwriting, photographs, videotapes, films, and recordings (as “recordings” is

defined in Rule 1001). The term “document(s)” also includes, without limitation, drafts or non-

identical copies of any document.

         7.         “Electronically-Stored Information” or “ESI” includes, but is not limited to, the

following:

                    (a)    all items covered by Rule 34(a)(1)(A);

                    (b)    information or data that is generated, received, processed, and recorded by

computers and other electronic devices, including metadata (e.g., author, recipient, file creation

date, file modification date, etc.);

                    (c)    files, information, or data saved on backup tapes, hard drives, or in “cloud”

or virtual storage;

                    (d)    internal or external websites;

                    (e)    output resulting from the use of any software program, including, but not

limited to, word processing documents, spreadsheets, database files, charts, graphs, and outlines,

electronic mail, instant messenger (or similar programs), bulletin board programs, operating

systems, text messages or SMS messaging, source code, PRF files, PRC files, batch files, ASCII

files, and all miscellaneous media on which they reside regardless of whether said electronic data

exists in an active file, a deleted file, or file fragment; and

                    (f)    activity listings of electronic mail receipts and/or transmittals; and




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                    (g)    any and all items stored on computer memories, hard disks, USB flash

drives, CD-ROM, magnetic tape, microfiche, or on any other media for digital data storage, or

transmittal, such as, but not limited to, personal digital assistants (e.g., iPhone, iPad), hand-held

wireless devices (e.g., BlackBerry smartphones), or similar devices, and file folder tabs, or

containers and labels appended to, or relating to, any physical storage device associated with each

original or copy of all documents requested herein.

         8.         “Including” is used to emphasize the type of document requested and does not limit

the request in any way.

         9.         “Person(s)” includes any natural person, firm, association, organization,

partnership, limited partnership, sole proprietorship, trust, corporation, or legal or governmental

entity, association, or body, and all other entities.

         10.        “Plank” refers to defendant Kevin A. Plank and his agents, attorneys, advisors,

accountants, and all other persons acting or purporting to act on his behalf.

         11.        “Refer” or “relate” or “referring” or “relating” means all documents which

comprise, explicitly or implicitly refer to, in whole or in part, were received in conjunction with,

or were created, generated, or maintained as a result of the subject matter of the Request, including,

but not limited to, all documents which reflect, record, memorialize, discuss, describe, compare,

concern, constitute, embody, evaluate, analyze, review, report on, comment on, or impact the

subject matter of the Request.

         12.        “Ruhle” refers to Stephanie Ruhle Hubbard and her agents, attorneys, advisors,

accountants, and all other persons acting or purporting to act on her behalf.

         13.        “Under Armour” refers to defendant Under Armour, Inc. and any of its direct or

indirect subsidiaries, divisions, affiliates (foreign and domestic), predecessors, successors, and any



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present and former officers, directors, employees, agents, or members of the Board of Directors of

Under Armour, its attorneys, accountants, advisors, and all other persons acting or purporting to

act on its behalf.

         14.        “You” or “your” refers, respectively, to Bloomberg L.P. and any of its direct or

indirect subsidiaries, divisions, subdivisions, affiliates (foreign and domestic), predecessors,

successors, joint ventures, present and former officers, directors, employees, representatives,

agents, and all other persons acting or purporting to act on its behalf.

         15.        The present tense includes the past and future tenses. The singular includes the

plural, and the disjunctive shall include the conjunctive, and vice versa. Words in the masculine,

feminine, or neuter form shall include each of the other genders.

II.      INSTRUCTIONS

         1.         In responding to these Requests, all documents shall be produced in accordance

with Federal Rule of Civil Procedure 45.

         2.         In responding to these Requests, you shall produce all responsive documents

(including those stored electronically) that are in your possession, custody, or control, or in the

possession, custody, or control of your predecessors, successors, parents, subsidiaries, divisions,

or affiliates, or any of your respective directors, executives, officers, partners, managing agents,

agents, employees, attorneys, accountants, or any other representatives. A document shall be

deemed to be within your control if you have the ability or right to secure the document or a copy

of the document from another person having possession or custody of the document.

         3.         All unique documents responsive to the document Requests herein that are stored

on your electronic backup tapes or hard drives shall be produced.

         4.         Pursuant to the Federal Rules of Civil Procedure, you are to produce for inspection

and copying by plaintiff original documents as they are kept in the usual course of business in their

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original folders, binders, covers, and containers, or facsimiles thereof, or you shall organize and

label the documents to correspond to the categories in these Requests. If the original document is

not in your custody, then you are to produce an identical copy thereof, as well as any non-identical

copies that differ for any reason (including, but not limited to, the making of notes thereon) from

the original or from the other copies produced. Plaintiff reserves the right to request inspection of

the original documents, including those stored electronically, as they are kept in the usual course

of business.

          5.        These Requests are specifically intended to encompass any ESI maintained in any

form of computer memory or on computer hard drives, diskettes, or “cloud” or virtual storage,

including any word processing or spreadsheet programs or electronic mail systems, or in any form

of electronic or computer-related storage, whether or not you currently have “hard copy” printouts

of the same. To the extent that there are documents containing information relevant to these

Requests that are currently in electronic format, the documents are to be produced in their native

format.

          6.        If you claim any form of privilege or any other objection, whether based on statute,

common law, or otherwise, as a ground for not producing any requested document, you shall

furnish a list identifying each document for which the privilege or other objection is claimed

together with the following information:

                    (a)    the privilege being asserted;

                    (b)    the person on whose behalf the privilege is asserted;

                    (c)    a precise statement of the facts upon which the claim is based;

                    (d)    a description of the purported privileged document including: (i) its nature

(e.g., letter, memorandum, tape, etc.); (ii) the date it was prepared; (iii) the date the document bears;



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(iv) the date the document was sent; (v) the date the document was received; (vi) the name of the

person who prepared the document; (vii) the name(s) of the person(s) who received the document;

(viii) the name of each person to whom it was sent or was intended to be sent, including all

addresses and all recipients of copies; and (ix) the subject matter of the document; and

                    (e)    a statement as to whom each identified person represented or purported to

represent at all relevant times.

         7.         If a portion of any document responsive to these Requests is withheld under claim

of privilege, pursuant to Instruction No. 6, any non-privileged portion of such document must be

produced with the portion claimed to be privileged redacted. Whenever a document is not

produced in full or is produced in redacted form, so indicate on the document, identifying those

portions of the document which are not being produced. For each document that is redacted, in

addition to providing the redacted version of the document, you shall furnish a log that complies

with the legal requirements under federal law, but at a minimum will include the following

information:

                    (a)    the Begin Production ID of the document;

                    (b)    the End Production ID of the document;

                    (c)    a description of why privilege is being asserted over the document; and

                    (d)    which privilege is asserted.

         8.         You are to produce each document requested herein in its entirety, without deletion

or excision (except as redacted for privilege), regardless of whether you consider the entire

document to be relevant or responsive to the Requests. All documents must be produced with all

attachments and enclosures, and in their original folder, binder, or other cover or container,

regardless of whether you consider the entire document to be relevant or responsive to the Request.



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Whenever a document or group of documents is removed from a file folder, binder, file drawer,

file box, notebook, or other cover or container, a copy of the label of such cover or container must

be attached to the document or group of documents.

         9.         Privilege and redaction logs may be produced on a rolling basis. The producing

party shall provide the logs and supplements for each production within 30 days of each given

production date.

         10.        If a document responsive to these Requests was at any time in your possession,

custody, or control but is no longer available for production, as to each such document state the

following information:

                    (a)    whether the document is missing or lost;

                    (b)    whether the document has been destroyed;

                    (c)    whether the document has been transferred or delivered to another person,

and, if so, at whose request;

                    (d)    whether the document has been otherwise disposed of; and

                    (e)    a precise statement of the circumstances surrounding the disposition of the

document and the date of its disposition.

         11.        If in responding to these Requests you can claim any ambiguity in interpreting a

Request or a Definition or Instruction applicable thereto, such claim shall not be utilized by you

as a basis for refusing to produce responsive documents, but there shall be set forth as part of your

response the language deemed to be ambiguous and the interpretation chosen or used in responding

to the Request.

         12.        With respect to any category of documents, if the production of which you contend

is in some way “burdensome” or “oppressive,” state the specific reasons for that objection.



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         13.        All Requests shall be deemed continuing and ongoing, and you are required to

supplement your responses with new or newly discovered material in accordance with Federal

Rule of Civil Procedure 26(e).

         14.        Provide a source list that clearly identifies who maintained the document and

identifies the person or location it was collected from.

III.     PRODUCTION OF HARD COPY DOCUMENTS – FORMAT

         Hard copy documents should be scanned as single-page, Group IV, 300 DPI TIFF images

with an .opt image cross-reference file and a delimited database load file (i.e., .dat). The database

load file should contain the following fields: “BEGNO,” “ENDNO,” “PAGES,” “VOLUME,” and

“CUSTODIAN.” The documents should be logically unitized (i.e., distinct documents shall not

be merged into a single record, and single documents shall not be split into multiple records) and

be produced in the order in which they are kept in the usual course of business. If an original

document contains color, and the color is necessary to understand the meaning or content of the

document, the document shall be produced as single-page, 300 DPI JPG images with JPG

compression and a high quality setting as to not degrade the original image. Multi-page OCR text

for each document should also be provided. The OCR software shall maximize text quality.

Settings such as “auto-skewing” and “auto-rotation” should be turned on during the OCR process.

IV.      PRODUCTION OF ESI

         1.         Format: Electronically-Stored Information should be produced in single-page,

black and white, TIFF Group IV, 300 DPI TIFF images with the exception of spreadsheet and

presentation type files, audio and video files, photo or graphic images, and documents with tracked

changes reflected in the metadata, which should be produced in native format. If an original

document contains color, the document should be produced as single-page, 300 DPI JPG images

with JPG compression and a high quality setting as to not degrade the original image. Parties are

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under no obligation to enhance an image beyond how it was kept in the usual course of business.

TIFFs/JPGs should show any and all text and images that would be visible to the reader using the

native software that created the document. For example, TIFFs/JPGs of email messages should

include the BCC line.

         2.         Format – Native Files: If a document is produced in native format, a single-page,

Bates stamped image slip sheet stating the document has been produced in native format should

also be provided, with the exception of PowerPoint presentations. PowerPoint documents should

be produced in native format along with single-page, 300 DPI TIFF/JPG images which display

both the slide and speaker’s notes. Each native file should be named according to the Bates number

it has been assigned, and should be linked directly to its corresponding record in the load file using

the NATIVELINK field. To the extent that either party believes that specific documents or classes

of documents, not already identified within this protocol, should be produced in native format, the

parties should meet and confer in good faith.

         3.         Documents prepared or maintained using any Deloitte global audit software tools

should be produced in a manner so that the parties can access and review the documents as they

were ordinarily maintained.

         4.         De-Duplication: Each party shall remove exact duplicate documents based on MD5

or SHA-1 hash values, at the family level. Attachments should not be eliminated as duplicates for

purposes of production, unless the parent email and all attachments are also duplicates. An email

that includes content in the BCC or other blind copy field shall not be treated as a duplicate of an

email that does not include content in those fields, even if all remaining content in the email is

identical. Removal of near-duplicate documents and email thread suppression is not acceptable.

De-duplication should be done across the entire collection (global de-duplication) and the



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CUSTODIAN-ALL field should list each custodian, separated by a semicolon, who was a source

of that document and the FILEPATH-DUP field will list each file path, separated by a semicolon,

that was a source of that document. Should the CUSTODIAN-ALL or FILEPATH-DUP metadata

fields produced become outdated due to rolling productions, an overlay file providing all the

custodians and file paths for the affected documents should be produced prior to substantial

completion of the document production.

         5.         Technology Assisted Review: Predictive coding/technology-assisted-review shall

not be used for the purpose of culling the documents to be reviewed or produced without notifying

the requesting party prior to use and with ample time to meet and confer in good faith regarding a

mutually agreeable protocol for the use of such technologies.

         6.         Metadata: All ESI shall be produced with a delimited, database load file that

contains the metadata fields listed in Table 1, attached hereto. The metadata produced should have

the correct encoding to enable preservation of the documents’ original language. For ESI other

than email and e-docs that do not conform to the metadata listed in Table 1, such as text messages,

Instant Bloomberg, iMessage, Google Chat, Yammer, Slack, etc., the parties will meet and confer

as to the appropriate metadata fields to be produced.

         7.         Embedded Objects: Embedded files shall be produced as attachments to the

document that contained the embedded file, with the parent/child relationship preserved. The

embedded files should be marked with a “YES” in the load file under the “Is Embedded” metadata

field. The parties agree logos need not be extracted as separate documents as long as they are

displayed in the parent document.

         8.         Attachments: If any part of an email or its attachments is responsive, the entire

email and attachments should be produced, except any attachments that must be withheld or



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redacted on the basis of privilege. The parties should meet and confer about whether there is an

appropriate basis for withholding a family document for any reason other than attorney-client or

work product privilege. The attachments should be produced sequentially after the parent email.

The parties shall use their best efforts to collect and produce documents that are links in emails,

including, but not limited to, Google G Suite, Microsoft O365, etc. Documents extracted from

links shall be populated with the BEGATTACH and ENDATTACH metadata fields to show the

family relationship.

         9.         Compressed File Types: Compressed file types (e.g., .ZIP, .RAR, .CAB, .Z) should

be decompressed so that the lowest level document or file is extracted.

         10.        Structured Data: To the extent a response to discovery requires production of

electronic information stored in a database, the parties should meet and confer regarding methods

of production. Parties should consider whether all relevant information may be provided by

querying the database for discoverable information and generating a report in a reasonably usable

and exportable electronic file.

         11.        Exception Report: The producing party shall compile an exception report

enumerating any unprocessed or unprocessable documents, their file type, and the file location.

         12.        Encryption: To maximize the security of information in transit, any media on which

documents are produced may be encrypted. In such cases, the producing party shall transmit the

encryption key or password to the receiving party, under separate cover, contemporaneously with

sending the encrypted media.

         13.        Redactions: If documents that the parties have agreed to produce in native format

need to be redacted, the parties should meet and confer regarding how to implement redactions

while ensuring that proper formatting and usability are maintained.



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V.       RELEVANT TIME PERIOD

         All Requests herein refer to the time period from January 1, 2015 to June 30, 2017 (the

“Relevant Time Period”), unless otherwise specifically indicated, and shall include all documents,

communications, and information that relate to such period, even though prepared or published

outside of the Relevant Time Period.

VI.      DOCUMENT REQUESTS

REQUEST NO. 1:

         All documents and communications between Ruhle and Defendants, including, but not

limited to, Plank, Diane Pelkey, and Jen Smith, concerning Under Armour.

REQUEST NO. 2:

         All documents and communications sent or received by Ruhle concerning Under Armour.




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                                                                      TABLE 1: METADATA FIELDS 1

            Field Name      Example / Format                                                     Description
    BEGNO                   ABC0000001 (Unique ID)                                               The Document ID number associated with the first page of a document.

    ENDNO                   ABC0000003 (Unique ID)                                               The Document ID number associated with the last page of a document.

    BEGATTACH               ABC0000001 (Unique ID Parent-Child Relationships)                    The Document ID number associated with the first page of the parent document.

    ENDATTACH               ABC0000008 (Unique ID Parent-Child Relationships)                    The Document ID number associated with the last page of the last attachment.

    VOLUME                  VOL001                                                               The name of CD, DVD, or Hard Drive.

    RECORDTYPE              Options: eMail, Attachment, Scanned Doc, eFile                       The record type of a document.

    SENTDATE                MM/DD/YYYY                                                           The date the email or calendar entry was sent.

    SENTTIME                HH:MM                                                                The time the email or calendar entry was sent.

    RECEIVEDDATE            MM/DD/YYYY                                                           The date the document was received.

    RECEIVEDTIME            HH:MM                                                                The time the document was received.

    CREATEDATE              MM/DD/YYYY                                                           The date the document was created.

    CREATETIME              HH:MM                                                                The time the document was created.

    LASTMODDATE             MM/DD/YYYY                                                           The date the document was last modified.

    LASTMODTIME             HH:MM                                                                The time the document was last modified.

    MEETING START DATE      MM/DD/YYYY                                                           Start date of calendar entry.

    MEETING START TIME      HH:MM                                                                Start time of calendar entry.

    MEETING END DATE        MM/DD/YYYY                                                           End date of calendar entry.

    MEETING END TIME        HH:MM                                                                End time of calendar entry.

    FILEPATH                i.e. /JsmithPC/Users/Jsmith/Desktop                                  The file path from the location in which the document was stored in the usual
                                                                                                 course of business. This field should be populated for both email and e-files.
    FILEPATH-DUP            i.e. /JSmith.pst/Inbox                                               The file paths from the locations in which the duplicate documents were stored in
                                 /Network Share/Accounting/…                                     the usual course of business. This field should be populated for both email and e-
                                 /TJohnsonPC/Users/TJohnson/My Documents/...                     files and separated by semicolons.
    AUTHOR                  jsmith                                                               The author of a document from extracted metadata.
    LASTEDITEDBY            jsmith                                                               The name of the last person to edit the document from extracted metadata.
    FROM                    Joe Smith <jsmith@email.com>                                         The display name and email address of the author of an email/calendar item.
                                                                                                 An email address should always be provided.

    TO                      Joe Smith <jsmith@email.com>; tjones@email.com                       The display name and email address of the recipient(s) of an email/calendar item.
                                                                                                 An email address should always be provided for every email if a recipient existed.

    CC                      Joe Smith <jsmith@email.com>; tjones@email.com                       The display name and email of the copyee(s) of an email/calendar item. An email
                                                                                                 address should always be provided for every email if a copyee existed.

    BCC                     Joe Smith <jsmith@email.com>; tjones@email.com                       The display name and email of the blind copyee(s) of an email or calendar item. An
                                                                                                 email address should always be provided for every email if a blind copyee existed.

    SUBJECT                                                                                      The subject line of the email/calendar item.

    MESSAGE TYPE            Appointment, Contact, Task, Distribution List, Message, etc.         An indication of the email system message type.


    IMPORTANCE              Normal, Low, High                                                    Email Importance Flag

    TITLE                                                                                        The extracted document title of a document.

    CUSTODIAN-ALL           Smith, Joe; Doe, Jane                                                All of the custodians of a document from which the document originated,
                                                                                                 separated by semicolons.
    SOURCE                  Computer, Mobile Phone, Email, Network Share, Database Name,         The source from which the document was collected.
                            etc.
    ATTACH COUNT            Numeric                                                              The number of attachments to a document.

    FILEEXT                 XLS                                                                  The file extension of a document.
    FILENAME                Document Name.xls                                                    The file name of a document.

    FILESIZE                Numeric                                                              The file size of a document (including embedded attachments).

    IS EMBEDDED             Yes or No                                                            The yes/no indicator of whether a file is embedded in another document.

    HASH                                                                                         The MD5 or SHA-1 Hash value or "de-duplication key" assigned to a document. The
                                                                                                 same hash method (MD5 or SHA-1) should be used throughout production.
    CONVERSATION INDEX                                                                           ID used to tie together email threads.
    REDACTED                Yes or Blank                                                         If a document contains a redaction, this field will display 'Yes'.
    TIMEZONE                PST, CST, EST, etc                                                   The time zone the document was processed in. NOTE: This should be the time zone
    PROCESSED                                                                                    where the documents were located at time of collection.
                            D:\NATIVES\ABC000001.xls                                             The full path to a native copy of a document.
    NATIVELINK

                            D:\TEXT\ABC000001.txt                                                The path to the full extracted text of the document. There should be a folder on the
                                                                                                 deliverable, containing a separate text file per document. These text files should be
                                                                                                 named with their corresponding Bates numbers. Note: Emails should include header
    FULLTEXT
                                                                                                 information: author, recipient, cc, bcc, date, subject, etc. If the attachment or e-
                                                                                                 file does not extract any text, then OCR for the document should be provided.

1
 For ESI other than email and e-docs that do not conform to the metadata listed here, such as text messages, Instant Bloomberg, iMessage, Google Chat, Yammer, Slack, etc., the
parties will meet and confer as to the appropriate metadata fields to be produced.
